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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------- x
                                                             :
                                                             :            Chapter 11
THE WEINSTEIN COMPANY HOLDINGS                               :
LLC, et al.,                                                 :            Case No. 18-10601 (MFW)
                                                             :
                                  Debtors.1                  :            (Jointly Administered)
                                                             :
                                                             :            Re: Docket Nos. 2994 & 2995
-------------------------------------------------------------x
                    NOTICE OF FILING OF PLAN SUPPORT AGREEMENT

         PLEASE TAKE NOTICE that in connection with the Second Amended Joint Chapter 11

Plan of Liquidation [Docket No. 2994] and Second Amended Disclosure Statement in Support of

the Second Amended Joint Chapter 11 Plan of Liquidation Proposed By Debtors and Official

Committee of Unsecured Creditors [Docket No. 2995], The Weinstein Company Holdings LLC and

its affiliated debtors and debtors in possession hereby file that certain Plan Support Agreement,

dated October 19, 2020, a copy of which is attached hereto as Exhibit A.




1
 The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural
purposes only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
noticing agent at http://dm.epiq11.com/twc.


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Dated: October 19, 2020
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